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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                     AT LEXINGTON

 ELIZABETH NIBLOCK and ALA
 HASSAN, Individually and on behalf of                  CIVIL ACTION NO. 5:19-394-KKC
 those similarly situated,
        Plaintiffs,

 V.                                                                  ORDER

 UNIVERSITY OF KENTUCKY, MITCH
 BARNHART AND ELI CAPILOUTO in
 their official capacities,
        Defendants.



                                              *** *** ***

         This matter is before the Court following notification by counsel of a conflict with the

 recently ordered trial date. Accordingly, having coordinated with the parties, the Court

 hereby ORDERS:

      (1) The in-person PRETIAL CONFERENCE currently scheduled for October 4, 2022

         shall be CONTINUED to January 31, 2023 at 3:00 p.m. in Lexington, Kentucky;

      (2) The BENCH TRIAL currently scheduled to begin October 24, 2022 shall be

         CONTINUED to February 21, 2023 at 9:00 a.m. in Lexington, Kentucky. The Court

         will set aside five (5) days for trial.

      This 19th day of July, 2022.




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